Case 2:05-cr-20227-SH|\/| Document 18 Filed 08/24/05 Page 1 of 2 Page|D 17

Fl|.f':‘D BY _M_M D_Q‘
IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEE 05 A_UG 214 pH 3: 32

 

 

 

 

WESTERN DIVISION
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UNITED STATES OF AMERICA '~"~l" C` ,~
V. 05-20227-Ma
CLAUDY REDMOND
ORDER ON ARRAIGNMENT
This cause came to be heard on 05 ‘a'l"l 'GS , the United States Attorney

 

for this district appeared on behalf of the government, and the defendant appeared in person and with
counsel:

NAME P’Am HAmr<n\/ who is aerained./Appoimed.

The defendant, through counsel, Waived formal arraignment and entered a plea of not guilty.

All motions shall be filed within thirty (30) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended.

_l/_ The defendant, who is not in custody, may stand on his present bond.

_The defendant (not having made bond) (being a state prisoner) (being a federal prisoner)
(being held Without bond pursuant to BRA 0f1984) is remanded to the custody of the U. S Marshal.

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UNTI`ED STATES MAGISTRATE JUDGE

CHARGES: 18:922(g);

U. S. Attorney assigned to Case: E. Gilluly

Age: L{»q
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Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
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Honorable Samuel Mays
US DISTRICT COURT

